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 3
                                UNITED STATES DISTRICT COURT
 4
                                 EASTERN DISTRICT OF CALIFORNIA
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 6    UNITED STATES OF AMERICA,                         CASE NO. 1:97-CR-5129-LJO-3
 7                          Plaintiff-Respondent,
                                                        ORDER SETTING BRIEFING SCHEDULE
 8           v.
 9    LAWRENCE ROBINSON,
10                          Defendant-Petitioner.       (ECF No. 405)
11

12          On June 23, 2016, Petitioner Lawrence Robinson, through the Federal Defender’s Office,
13   filed a motion to vacate, set aside, or correct his sentence pursuant 28 U.S.C. § 2255, raising issues
14   related to Johnson v. United States, 135 S. Ct. 2551 (2015), and Welch v. United States, 136 S. Ct.
15   1257 (2016). ECF No. 405. Petitioner simultaneously filed an application to the Ninth Circuit for
16   leave to file a second or successive § 2255 motion. Id. On March 21, 2017, the Ninth Circuit granted
17   Petitioner’s application to file a second or successive § 2255 motion. ECF No. 404. Accordingly,
18          IT IS HEREBY ORDERED that the Government shall file a response to Petitioner’s § 2255
19   motion on or before April 25, 2017. From the date of the Government’s filing, Petitioner shall have
20   30 days to file a reply.
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     IT IS SO ORDERED.
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23      Dated:     March 24, 2017                           /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
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